Case 2:17-cv-01603-RSWL-AJW Document 19 Filed 01/18/18 Page 1 of 2 Page ID #:59



   1
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   5   Attorneys for Plaintiff
       Larraine De Leon
   6
   7
   8                           UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
   9                                 WESTERN DIVSION
  10
  11   LARRAINE DE LEON,                            Case No.: 2:17-cv-01603-RSWL-AJW
  12            Plaintiff,                           STIPULATION OF DISMISSAL
       v.                                            WITH PREJUDICE
  13
       ONEMAIN FINANCIAL GROUP, LLC,
  14
              Defendant.
  15
  16
  17
              Plaintiff Larraine De Leon (“Plaintiff”) through her attorneys, Price Law Group
  18
  19   APC, and Defendant OneMain Financial Group, LLC (“OneMain”), by and through its

  20   attorneys, Yu Mohandesi LLP, hereby stipulate to dismiss Plaintiff’s claims against
  21   OneMain with prejudice pursuant to Rule 41(a)(2), with each party to bear its own costs
  22
       and attorneys’ fees.
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  28
                                                                            STIPULATION OF DIMISSAL
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Case 2:17-cv-01603-RSWL-AJW Document 19 Filed 01/18/18 Page 2 of 2 Page ID #:60



   1   DATED: January 18, 2018                        PRICE LAW GROUP, APC
   2
                                                      By: /s/ Stuart M. Price             .
   3                                                  Stuart M. Price
                                                      Attorneys for Plaintiff
   4                                                  Larraine De Leon
   5
   6   DATED: January 18, 2018                        YU | MOHANDESI LLP

   7                                                  By: /s/ Brett B. Goodman
   8                                                  Brett B. Goodman
                                                      633 West Fifth Street, Suite 2800
   9                                                  Los Angeles, CA 90071
                                                      bgoodman@yumollp.com
  10                                                  Tel: (213) 375-3543
  11                                                  Attorneys for Defendant
                                                      OneMain Financial Group, LLC
  12
  13
  14                                  ECF Signature Certification
  15          Pursuant to Local Rule 5-4.3.4, I, Stuart Price, hereby certify that the content of
  16   this document is acceptable to Brett B. Goodman counsel for Defendant OneMain
       Financial Group, LLC and I have obtained Mr. Goodman’s authorization to affix his
  17   electronic signature to this document.
  18
              Dated: January 18, 2018     /s/ Stuart M. Price
  19
  20
                                    CERTIFICATE OF SERVICE
  21
  22          I hereby certify that on January 18, 2018, I electronically transmitted the

  23   foregoing document to the Clerk’s Office using the CM/ECF System for filing and
  24
       transmittal of a Notice of Electronic Filing to the foregoing CM/ECF registrants:
  25
  26
  27   /s/ Sandra Padilla

  28
                                                                                STIPULATION OF DIMISSAL
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